Case 2:97-cr-20190-SH|\/| Document 54 Filed 08/23/05 Page 1 of 2 Page|D 28

 

IN THE UNITED sTATEs DISTRICT COURT men BY --- D-c-
FoR THE wEsTERN DISTRICT oF TENNESSEE
wESTERN DIvIsIoN 05 AUG 23 AH 63 52
I{`K)W\S M.
UNITED STATES oF AMERICA, aEH(.rU-S,P»!ST?“`?K)T
W;D 05 ??'s_, .`¢:‘EHPI~HS
vS. NO. 97-20190-Ma

KENNETH MCMULLEN ,

Defendant.

 

ORDER RESETTING HEARING ON SUPERVISED RELEASE VIOLATION

 

Before the court is the August 17, 2005, motion to reset the
hearing on defendant Kenneth McMullen's supervised release
violation which was set on August 18, 2005. For good Cause
shown, the motion is granted. The hearing on supervised release
violation of defendant Kenneth McMullen is RESET to Wednesday,
September 21, 2005, at 9:00 a.m.

It is so ORDERED this ut‘(day of August, 2005.

J///M/z___

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRIC'I' JUDGE

 

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with Rule 55 and/or 32!b} FRCrP on

 

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Honorable Samuel Mays
US DISTRICT COURT

